      Case 8:22-bk-10948-SC       Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13        Desc
                                   Main Document    Page 1 of 20


 11   RON BENDER (SBN 143364)
      KRIKOR J. MESHEFEJIAN (SBN 255030)
 22   LINDSEY L. SMITH (SBN 265401)
 33   LEVENE, NEALE, BENDER, YOO & GOLUBCHIK L.L.P.
      2818 La Cienega Avenue
 44   Los Angeles, California 90034
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: RB@LNBYG.COM; KJM@LNBYG.COM; LLS@LNBYG.COM
 66   Proposed Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                UNITED STATES BANKRUPTCY COURT
 88                              CENTRAL DISTRICT OF CALIFORNIA
                                       SANTA ANA DIVISION
 99
      In re:                                        Lead Case No.: 8:22-bk-10948-SC
10
10
      TRX HOLDCO, LLC, a Delaware limited           Jointly administered with:
11
11    liability company,                            8:22-bk-10949-SC
12
12
              Debtor and Debtor in Possession.      Chapter 11 Cases
13
13    ____________________________________
      In re:                                        NOTICE OF BIDDING PROCEDURES
14
14
      FITNESS ANYWHERE LLC, a Delaware              Auction Date: August 3, 2022
15
15    limited liability company, dba TRX and TRX
      Training,                                     Initial Bid Deadline: July 27, 2022
16
16
17
17            Debtor and Debtor in Possession.
      ____________________________________
18
18
19
19       Affects both Debtors
20
20
        Affects TRX Holdco, LLC only
21
21
         Affects Fitness Anywhere, LLC only
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      Case 8:22-bk-10948-SC       Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13           Desc
                                   Main Document    Page 2 of 20


 11          Attached are the Court approved Bidding Procedures (without exhibits) for TRX Holdco,

 22   LLC and Fitness Anywhere LLC, dba TRX and TRX Training, the debtors and debtors-in-

 33   possession in the above-captioned Chapter 11 bankruptcy cases.

 44
      Dated: June 30, 2022                       TRX HOLDCO, LLC
 55                                              FITNESS ANYWHERE LLC
 66
                                                 By:    /s/ Ron Bender
 77                                                     RON BENDER
                                                        KRIKOR J. MESHEFEJIAN
 88                                                     LINDSEY L. SMITH
                                                        LEVENE, NEALE, BENDER,
 99
                                                        YOO & GOLUBCHIK L.L.P.
10
10                                                      Proposed Attorneys for Chapter 11 Debtors
                                                        and Debtors in Possession
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     Case 8:22-bk-10948-SC           Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                        Desc
                                      Main Document    Page 3 of 20



                         BIDDING PROCEDURES - TRX HOLDCO, LLC AND
 1

 2                    FITNESS ANYWHERE LLC, dba TRX and TRX TRAINING

 3           These bidding procedures (the “Bidding Procedures”) relate to the proposed free and clear

 4   sale by TRX Holdco, LLC and Fitness Anywhere LLC, dba TRX and TRX Training (collectively,
 5
     the “Debtors”) of substantially all of their assets (excluding cash and bankruptcy avoidance
 6
     actions). A schedule of the assets being sold is attached hereto as Exhibit “1” (the “Assets”).
 7
             At a hearing held on June 30, 2022 before the United States Bankruptcy Court for the
 8
     Central District of California, Santa Ana Division (the “Bankruptcy Court”) under Lead Case No.:
 9

10   8:22-bk-10948-SC being jointly administered with Case No.: 8:22-bk-10949-SC, the Bankruptcy

11   Court approved these Bidding Procedures, which are intended to ensure that the highest and best
12   possible price is paid for the Assets by a purchaser who has the financial ability to close on the
13
     sale of the Assets (the “Sale”). A copy of the Bankruptcy Court order approving these Bidding
14
     Procedures is attached hereto as Exhibit “2”.
15
             These Bidding Procedures assume that there will be an open auction for the sale of the
16

17   Assets with no stalking horse bidder.1

18                                     Free and Clear Sale of the Assets.

19           An auction (the “Auction”) will take place on August 3, 2022, at the law offices of Levene,
20   Neale, Bender, Yoo & Golubchik L.L.P. (“LNBYG”), which is serving as bankruptcy counsel to
21
     the Debtors, at which the sale of the Assets will occur.               All Qualified Bidders and their
22
     representatives will be authorized to appear at the Auction in person or by video zoom. The zoom
23

24

25

26   1
      The Debtors reserve the right to seek a further order of the Bankruptcy Court to alter these Bidding
     Procedures, including to provide for a stalking horse bidder, if the Debtors determine that doing so is in the
27   best interests of their bankruptcy estates.
28                                                        -1-
     Case 8:22-bk-10948-SC           Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                        Desc
                                      Main Document    Page 4 of 20



     information for the Auction will be provided in advance to all Qualified Bidders who wish to
 1

 2   participate in the Auction by zoom.

 3             The sale of the Assets will be free and clear of all liens, claims and interests pursuant to

 4   Section 363(b) and (f) of the Bankruptcy Code, with any liens that exist against the Assets to attach
 5
     to the proceeds of the sale with the same validity and priority as such liens have in and to the
 6
     Assets. Without limiting the generality of the foregoing, the sale of the Assets will be free and
 7
     clear of the only known lien held against the Assets which is in favor of Woodforest National Bank
 8
     (the “Bank”). The Bank is deemed to be a Qualified Bidder and shall be deemed to have satisfied
 9

10   all of the requirements to participate in the Auction and to credit bid its secured debt if it desires

11   to do so.
12                                                Bidding Process
13
               The Debtors have retained Kroll Securities, LLC (“Kroll”) to serve as the Debtors’
14
     financial advisor and investment banker. Kroll and LNBYG, in consultation with the Official
15
     Committee of Unsecured Creditors appointed in these chapter 11 cases (the “Committee”) and its
16

17   advisors and the Bank, will jointly conduct the Auction.

18                                      Key Dates for Interested Bidders

19             These Bidding Procedures provide interested parties with a detailed explanation of what
20   they need to do to participate in the Auction.
21
               The key dates for the Auction and related free and clear asset sale process are as follows2:
22
         July 27, 2022 at 5 p.m. (prevailing Pacific         Initial Bid Deadline – Due Date for initial
23
         time)                                               bids to be submitted by all parties who wish
24
     2
25     The Committee reserves the right to seek to extend any of the foregoing deadlines for cause shown,
     including, inter alia, in the event the Bidders are unable to complete diligence on a timely basis or there is
26   insufficient time between the Initial Bid Deadline and the Auction to enable the Debtors, Kroll and the
     Committee to identify the Qualified Bids. Any dispute between the Committee and the Debtors that cannot
27   be resolved consensually will be resolved by the Bankruptcy Court.
28                                                        -2-
     Case 8:22-bk-10948-SC       Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                  Desc
                                  Main Document    Page 5 of 20



 1                                                      to participate in the Auction. In order to
                                                        participate in the Auction, all prospective
 2                                                      bidders must do all of the following:
                                                            1. Submit a redlined version of the
 3                                                              template asset purchase agreement
                                                                (the “Template APA”) indicating all
 4
                                                                changes that are requested to be made
 5                                                              to the Template APA, with the
                                                                Template APA to include their
 6                                                              proposed initial bid;
                                                            2. Submit all documents to enable Kroll
 7                                                              to determine whether the proposed
 8                                                              bidder is financially qualified to
                                                                participate in the Auction; and
 9                                                          3. Submit a deposit equal to 10% of the
                                                                proposed initial bid, which 10%
10                                                              deposit would be deemed non-
                                                                refundable if the bidder is deemed to
11                                                              be the winning bidder at the Auction
12                                                              and then the Debtors’ proposed free
                                                                and clear sale of the Assets to the
13                                                              bidder is approved by the Bankruptcy
                                                                Court. Bidders will have the right to
14                                                              withdraw their bid at any time up until
                                                                Noon (prevailing Pacific time) on
15                                                              August 2, 2022, in which case they
16                                                              will receive a return of their 10%
                                                                deposit and no longer be eligible to
17                                                              participate in the Auction.

18    August 3, 2022 at 10 a.m. (prevailing Pacific     Auction to be held at the offices of Levene,
      time)                                             Neale, Bender, Yoo & Golubchik L.L.P.,
19                                                      which are located at 2818 La Cienega
                                                        Avenue, Los Angeles, CA, or via zoom with
20                                                      all Qualified Bidders, the Committee, the
21                                                      Bank and their respective advisors to be
                                                        provided with particulars in advance of the
22                                                      Auction.

23    August 4, 2022 at 11:00 a.m.                      Sale Hearing to be conducted before the
                                                        Bankruptcy Court for the Bankruptcy Court
24                                                      to approve the Debtors’ sale of the Assets to
                                                        the winning bidder at the Auction (the “Sale
25                                                      Hearing”)
26    August 12, 2022                                   Outside date by when the winning bidder at
                                                        the Auction is required to close its purchase
27

28                                                    -3-
     Case 8:22-bk-10948-SC           Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                      Desc
                                      Main Document    Page 6 of 20



 1                                                          of the Assets unless the winning bidder and
                                                            the Debtors jointly agree to extend the outside
 2                                                          closing date
 3
                       Due Diligence Access / Auction Participation Requirements
 4
             In order to participate in the Auction process as a bidder, a person or entity interested in
 5
     purchasing the Assets (a “Potential Bidder”) must deliver or have previously delivered to Kroll
 6

 7   with a copy to the Committee and the Bank and their respective advisors, all of the following

 8   documents (the “Participation Requirements”):3 (1) an executed non-disclosure agreement with

 9   the form to be obtained from Kroll; (2) a statement demonstrating a bona fide interest in purchasing
10
     the Assets; and (3) one of the following: (i) written evidence of readily available funds equal to
11
     the Potential Bidder’s initial bid and any increase the Potential Bidder desires to have authority to
12
     bid to, with Kroll, the Bank and the Committee to keep all such information completely
13
     confidential, (ii) a firm commitment for financing sufficient for the Potential Bidder to timely
14

15   consummate its purchase of the Assets, or (iii) other sufficient information, which may include

16   current audited financial statements and the latest unaudited financial statements of the Potential
17   Bidder and/or its equity holders, or such other form of financial disclosure and credit-quality
18
     support or enhancement that will allow Kroll, the Debtors, the Bank and the Committee to make a
19
     reasonable determination as to the Potential Bidder’s financial and other capabilities to timely
20
     consummate its purchase of the Assets. Any Potential Bidder who has satisfied the foregoing
21

22   Participation Requirements will be afforded, subject to the other provisions of these Bidding

23

24
     3
      All such information shared with the Committee, and any other confidential information regarding any
25   Potential Bidder or the Auction or the asset sale process, will only be shared initially with counsel to the
     Committee. Counsel to the Committee will then be authorized to share such information only with
26   Committee members who have formally waived any right to participate as a Bidder at the Auction or as a
     participant with any other Bidder at the Auction and who has itself signed a Non Disclosure Agreement
27   with Kroll which would require the Committee member to keep all such information confidential.
28                                                       -4-
     Case 8:22-bk-10948-SC        Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                 Desc
                                   Main Document    Page 7 of 20



     Procedures, due diligence access and additional information through access to an online data room,
 1

 2   as well as, upon reasonable advance notice, on-site visits and direct communication with

 3   management as the Potential Bidder desires and Kroll determines to be appropriate under the

 4   circumstances and subject to the availability of such management.
 5
                                        Due Diligence Limitations
 6
            The Debtors and Kroll, in consultation with the Committee and the Bank, shall not be
 7
     obligated to furnish any due diligence information to any Potential Bidder after the Bid Deadline.
 8
     In their discretion, the Debtors and Kroll, in consultation with the Committee and the Bank, may,
 9

10   but shall not be obligated to, furnish additional information after the Bid Deadline to Qualified

11   Bidders. The Debtors and Kroll, in consultation with the Committee and the Bank, reserve the
12   right to withhold any due diligence materials from any Potential Bidder that the Debtors and Kroll,
13
     after consultation with the Committee and the Bank, determine are business-sensitive or otherwise
14
     not appropriate for disclosure to any Potential Bidder who is a competitor of the Debtors or is
15
     affiliated with any competitor of the Debtors.
16

17          Neither the Debtors nor Kroll nor any of their representatives or advisors shall be obligated

18   to furnish information of any kind whatsoever to any person or entity who is not determined to

19   have satisfied the Participation Requirements.
20          All due diligence requests must be directed to Kroll, Attn: Joshua Benn
21
     (Joshua.benn@kroll.com); Vijay Sampath (Vijay.sampath@kroll.com); Russell Norowitz
22
     (russell.norowitz@kroll.com); and Greg Klein (Greg.Klen@kroll.com). Kroll shall promptly
23
     respond to reasonable requests of the Committee and the Bank for material updates on due
24

25   diligence requests.

26

27

28                                                    -5-
     Case 8:22-bk-10948-SC           Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                   Desc
                                      Main Document    Page 8 of 20



                                     Due Diligence from Potential Bidders
 1

 2             Each Potential Bidder shall comply with all reasonable requests for additional information

 3   by the Debtors, Kroll, or their advisors regarding such Potential Bidder, including, without

 4   limitation, the Potential Bidder’s financial ability to close the Sale. If the Committee or the Bank
 5
     desires to obtain any additional information from any Potential Bidder, the Committee or the Bank
 6
     shall make such request of Kroll, which, in turn, will attempt to obtain such additional information
 7
     from such Potential Bidder, with any dispute between the Committee or the Bank and Kroll in this
 8
     regard to be resolved by the Bankruptcy Court. Neither the members of the Committee nor the
 9

10   Bank nor their respective advisors shall have any direct communication with Potential Bidders

11   unless specifically authorized in advance, in writing, by Kroll. The Failure by a Potential Bidder
12   to comply with any such requests may be a basis for the Debtors and Kroll, after consultation with
13
     the Committee and the Bank, to determine that such Potential Bidder is not or cannot be a Qualified
14
     Bidder.
15
                                      Initial Bid Deadline for All Bidders
16

17             The deadline for all bidders to submit their initial bid for the Assets (“Initial Bid”) is July

18   27, 2022 at 5:00 p.m. (prevailing Pacific time) (the “Bid Deadline”). An Initial Bid may be

19   transmitted electronically and must be received on or before the Bid Deadline by Kroll, LNBYG,
20   the Bank and the Committee and its advisors (collectively, the “Receiving Parties”). An Initial
21
     Bid received after the Bid Deadline shall not be considered unless the Debtors and Kroll, after
22
     consultation with the Committee and the Bank, for good cause, consent.
23
                                                Bid Requirements
24

25             To be eligible to participate in the Auction, each Initial Bid and each Potential Bidder

26   submitting an Initial Bid (each, a “Bidder”) must be determined by the Debtors and Kroll, in

27

28                                                       -6-
     Case 8:22-bk-10948-SC          Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13              Desc
                                     Main Document    Page 9 of 20



     consultation with the Committee and the Bank, to have satisfied all of the conditions listed below
 1

 2   (collectively, the “Bid Requirements”):

 3          1.      Terms. An Initial Bid must be accompanied by a clean and redlined version of the

 4          APA, with the redlined version of the APA to show all of the Potential Bidder’s requested
 5
            changes to the Template APA. The form template APA in Word format (“Template APA”)
 6
            can be obtained by any Potential Bidder from either Kroll or LNBYG, and a copy will be
 7
            available in the online data room being maintained by Kroll. The APA must include
 8
            binding, executed transaction documents and be signed by an authorized representative of
 9

10          the Bidder.

11          2.      No Contingencies. An Initial Bid must include a statement that there are no
12          conditions precedent to the Bidder’s authority to enter into or consummate a definitive
13
            agreement, other than entry by the Bankruptcy Court of an order approving the sale of the
14
            Assets to the Bidder.
15
            3.      Bid Requirements. An Initial Bid must set forth a cash purchase price for the
16

17          Assets. Without limiting the generality of the foregoing, an Initial Bid (i) may not contain

18          representation or warranties, covenants, or termination rights materially more onerous in

19          the aggregate than are set forth in the Template APA, as determined by the Debtors and
20          Kroll, (ii) may not be conditioned upon obtaining financing, any internal, regulatory, or
21
            other third party approvals, or on the outcome or review of due diligence, (iii) may not
22
            provide for a closing date that will be later than August 12, 2022, unless both the Debtors
23
            and the winning bidder jointly agree to extend the Sale closing date at their sole and
24

25          absolute discretion, and (iv) may not be conditioned upon the Bankruptcy Court order

26          approving the sale becoming a “final order.”

27

28                                                  -7-
     Case 8:22-bk-10948-SC       Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                  Desc
                                 Main Document     Page 10 of 20



           4.     Irrevocable. An Initial Bid must state that unless the Bidder withdraws its Initial
 1

 2         Bid by Noon (prevailing Pacific time) on August 2, 2022, the offer made by the Bidder in

 3         its Initial Bid is binding and irrevocable until the conclusion of the Sale Hearing and such

 4         Initial Bid must continue to remain binding and irrevocable through the Sale Closing if the
 5
           Initial Bid or any higher bid submitted by the Bidder at the Auction is accepted by the
 6
           Debtors at the Auction as the Winning Bid (defined below) or the Winning Back-Up Bid
 7
           (defined below) and approved by the Bankruptcy Court at the Sale Hearing.
 8
           5.     Identity of Bidder. An Initial Bid must fully disclose the identity of each entity or
 9

10         person that will be bidding for or purchasing the Assets, including all material equity

11         holders (i.e., parties that own at least 10% of the equity of the Bidder) in the case of a
12         Bidder that is an entity specially formed for the purpose of effectuating the contemplated
13
           transaction, or otherwise participating in connection with such Initial Bid, and the complete
14
           terms of any such participation, including any agreements, arrangements or understandings
15
           concerning collaborative or joint bid or any other combination concerning the proposed
16

17         Initial Bid. An Initial Bid must also fully disclose any connection with or participation by

18         any “insider” of the Debtors or any relative or any affiliate of any “insider” of the Debtors.

19         An Initial Bid must also fully disclose any connection with or participation by any current
20         creditor or equity holder of the Debtors, including any member of the Committee.
21
           6.     Contact Information.       An Initial Bid must include the names and contact
22
           information (including phone numbers and email addresses) of all authorized
23
           representatives of the Bidder who will be available to answer questions regarding the Initial
24

25         Bid, including advisors and related parties.

26

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28                                                  -8-
     Case 8:22-bk-10948-SC       Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                  Desc
                                 Main Document     Page 11 of 20



           7.     Deposit. An Initial Bid must include a good-faith deposit in immediately available
 1

 2         funds equal to ten percent (10%) of the amount of the Initial Bid (the “Deposit”). If a

 3         Bidder elects to increase the amount of its Initial Bid at the Auction, the Bidder will not be

 4         required to increase the amount of its Deposit. If a bid submitted at the Auction (“Bid”),
 5
           including any Initial Bid, is determined to be the Winning Bid at the Auction and the Bidder
 6
           who submitted such Winning Bid fails to timely close the Sale for any reason other than
 7
           the Bankruptcy Court not approving the Winning Bid at the Sale Hearing, the Deposit shall
 8
           become non-refundable and be forfeited to the Debtors. The same shall apply to any
 9

10         Winning Back-Up Bid in the event the Winning Bidder fails to timely close the Sale, the

11         Winning Back-Up Bidder is notified in writing that it is now the Winning Bidder, and the
12         Winning Back-Up Bidder fails to close its purchase within ten (10) days of having been
13
           notified that it is now the Winning Bidder, unless the Winning Bidder and the Debtors
14
           jointly agree to extend the sale closing date. All Deposits of all Qualified Bidders shall be
15
           held in a segregated trust account maintained by LNBYG and shall be returned (other than
16

17         with respect to the Winning Bidder and the Winning Back-Up Bidder) promptly after the

18         conclusion of the Auction. All Bidders shall have the right to withdraw their Initial Bid at

19         any time up until Noon (prevailing Pacific time) on August 2, 2022, in which case the
20         Bidder will receive a return of their Deposit and be prohibited from participating in the
21
           Auction.
22
           8.     Financing Sources. An Initial Bid must contain written evidence of available
23
           funds or a firm irrevocable commitment for financing sufficient to consummate the
24

25         proposed Sale with appropriate contact information for such financing sources, with Kroll

26         to determine whether such evidence of financing satisfies these Bidding Requirements and

27

28                                                  -9-
     Case 8:22-bk-10948-SC          Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                 Desc
                                    Main Document     Page 12 of 20



           enables the Bidder to participate in the Auction, with such determination to be in Kroll’s
 1

 2         sole and absolute discretion, after consultation with the Committee and the Bank.

 3         9.       Designation of Assigned Contracts and Leases. Subject to the ability of the

 4         Debtors to obtain an order of the Bankruptcy Court approving of the Debtors’ assumption
 5
           and assignment of any executory contract or unexpired lease to the Winning Bidder, an
 6
           Initial Bid must identify all of the Debtors’ executory contracts and unexpired leases with
 7
           respect to which the Bidder seeks assignment from the Debtors, with the Winning Bidder
 8
           having the right to amend such list at any time prior to the commencement of the Sale
 9

10         Hearing.

11         10.      Designation of Assumed Liabilities. An Initial Bid must identify all liabilities that
12         the Bidder proposes to assume.
13
           11.      Termination Fees. An Initial Bid must not entitle the Bidder to any break-up fee,
14
           termination fee, expense reimbursement or similar type of payment or reimbursement, and
15
           by submitting the Initial Bid, the Bidder waives the right to pursue a substantial
16

17         contribution claim under 11 U.S.C. §503 related in any way to the submission of its Initial

18         Bid or its participation in the Auction.

19         12.      Identities of the Receiving Parties: All Initial Bids must be delivered by email to
20         each of the following parties (collectively, the “Receiving Parties”):
21
           (a)     Kroll,   Attn:   Joshua   Benn        (Joshua.benn@kroll.com);      Vijay     Sampath
22
     (Vijay.sampath@kroll.com); Russell Norowitz (russell.norowitz@kroll.com); and Greg Klein
23
     (Greg.Klen@kroll.com); LNBYG - Attention: Ron Bender (RB@LNBYG.com) and Krikor J.
24

25   Meshefejian     (KJM@LNBYG.com);          and     Sheppard   Mullin    –   Attention      Ori   Katz

26   (OKatz@sheppardmullin.com) and Jennifer Nassiri (JNassiri@sheppardmullin.com); Reed Smith

27

28                                                    -10-
     Case 8:22-bk-10948-SC         Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                 Desc
                                   Main Document     Page 13 of 20



     – Attention: Christopher O. Rivas (CRivas@ReedSmith.com) and Marsha A. Houston
 1

 2   (MHouston@ReedSmith.com).

 3                                Qualified Bidders and Qualified Bids

 4          Potential Bidders who have satisfied the Participation Requirements and Bid Requirements
 5
     will be deemed “Qualified Bidders,” and Initial Bids that meet all of the Bid Requirements
 6
     described above will be deemed “Qualified Bids,” in each case, only if the Debtors, Kroll, the
 7
     Bank and the Committee conclude in the exercise of their business judgment, that such Initial Bid
 8
     would be consummated if selected as the Winning Bid; provided, however, that, for avoidance of
 9

10   doubt, if any Qualified Bidder fails to comply with reasonable requests for additional information

11   and due diligence access from the Debtors or Kroll, after consultation with the Committee and the
12   Bank, to their satisfaction, the Debtors and Kroll, after consultation with the Committee and the
13
     Bank, shall have right, in their sole and absolute discretion, to disqualify any Qualified Bidder and
14
     Qualified Bid, and such Bidder shall not be entitled to attend or otherwise participate in the
15
     Auction.
16

17                                     No Other Use of Credit Bids

18          Other than the Bank, there are no known liens against the Assets. Accordingly, other than

19   the Bank should it wish to be a Bidder, no other party in interest or creditor may offer any type of
20   credit bidding in connection with any Bid or the Sale.
21
                                          Notice of Qualified Bids
22
            By 2:00 p.m. (prevailing Pacific time) on August 2, 2022, Kroll shall identify to all
23
     Qualified Bidders: (a) each and every Initial Bid that Kroll considers to be a Qualified Bid and (b)
24

25   if more than one Qualified Bid has been timely received, the Qualified Bid that will constitute the

26   Opening Bid at the Auction and the bidding order in which the Auction will be conducted.

27

28                                                   -11-
     Case 8:22-bk-10948-SC          Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                     Desc
                                    Main Document     Page 14 of 20



                                                     Auction
 1

 2           If no Qualified Bids are received then the Auction will be deemed automatically cancelled

 3   unless the Debtors and Kroll, after consultation with the Committee and the Bank, determine

 4   otherwise, in their sole and absolute discretion. If only one Qualified Bid is received, there will
 5
     be no Auction and the Qualified Bidder will be deemed the Winning Bidder. If more than one
 6
     Qualified Bid is received, the Auction will proceed as scheduled with the Auction to commence at
 7
     10:00 a.m. (prevailing Pacific time) on August 3, 2022 at the law offices of Levene, Neale, Bender,
 8
     Yoo & Brill L.L.P., 2818 La Cienega Avenue, Los Angeles, California [with zoom participation
 9

10   permitted].

11                                   Participation in and Attendance at Auction
12           Only Kroll, the Debtors, and Qualified Bidders along with their representatives, counsel,
13
     and advisors, and the Committee and its counsel and advisors, may attend the Auction (such
14
     Auction to be in person or via Zoom, Webex or similar virtual means, as applicable), and only
15
     Qualified Bidders shall be permitted to submit any Bids at the Auction.
16

17                               No Collusion; Good Faith Bona Fide Offer

18           Each Qualified Bidder participating in the Auction will be required to confirm on the record

19   at the Auction that: (i) it has not engaged in any collusion with respect to the bidding; (ii) its Initial
20   Bid and any higher bid submitted at the Auction is a good-faith bona fide offer; (iii) it intends to
21
     consummate the proposed transaction if selected as the Winning Bidder; and (iv) it acknowledges
22
     that, if chosen, it will serve as the Winning Back-Up Bidder.
23
                                          Opening Bid at the Auction
24

25           The Qualified Bid determined by Kroll and the Debtors, after consultation with the

26   Committee and the Bank, to constitute the highest and best Initial Bid will serve as the opening

27

28                                                     -12-
     Case 8:22-bk-10948-SC          Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                    Desc
                                    Main Document     Page 15 of 20



     bid (the “Opening Bid”) at the Auction. Kroll will notify all Qualified Bidders in advance of the
 1

 2   Auction which Initial Bid has been accepted as the Opening Bid at the Auction and the order in

 3   which the bidding at the Auction will proceed.

 4                                         Conducting the Auction
 5
             Kroll and LNBYG, with input from the Committee and the Bank, will direct and preside
 6
     over the Auction. At the start of the Auction, and after each Qualified Bidder acknowledges on
 7
     the record that it has not engaged in any collusion with respect to the bidding, that its Initial Bid is
 8
     a good faith bona fide offer, and that it intends to consummate the proposed transaction if selected
 9

10   as the Winning Bidder or the Winning Back-Up Bidder, Kroll and LNBYG, after consultation with

11   the Committee and the Bank, will identify, confirm and describe the Opening Bid. The bidding
12   will then ensue in the bidding order provided by Kroll to all Qualified Bidders in advance of the
13
     Auction. All bidding after the Opening Bid shall continue in bidding increments of at least
14
     $100,000 or figures that are wholly divisible by $100,000 unless the Debtors and Kroll, after
15
     consultation with the Committee and the Bank, determine otherwise. All bids will be made and
16

17   received in one room (or otherwise in the presence via Zoom, Webex or similar virtual means of

18   all parties), on an open basis, and all Qualified Bidders will be entitled to be present for all bidding,

19   with the understanding that the identity of each Qualified Bidder will be fully disclosed to all
20   Qualified Bidders before the Auction and the material terms of each Qualified Bid submitted prior
21
     to the Auction, and all successive bids made at the Auction, will be fully disclosed to all Qualified
22
     Bidders. All Qualified Bidders will be permitted to bid at the Auction based on what Kroll and
23
     LNBYG, after consultation with the Committee and the Bank, determine to be an appropriate
24

25   amount of time to respond to each prior submitted Bid.

26

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28                                                     -13-
     Case 8:22-bk-10948-SC         Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                 Desc
                                   Main Document     Page 16 of 20



            Prior to the Auction, Kroll will randomly assign to each Qualified Bidder a bidder number,
 1

 2   except that the Qualified Bidder whose Initial Bid was accepted as the Opening Bid will be

 3   assigned bidder number 1. Once the Opening Bid has been described by Kroll and LNBYG, the

 4   bidding will then pass to Bidder number 2. Bidder number 2 will have the option of submitting an
 5
     overbid to the Opening Bid of at least $100,000 or dropping out of the Auction. Once a Bidder
 6
     drops out of the Auction, the Bidder will no longer be permitted to participate in the Auction. After
 7
     Bidder number 2 either submits a qualifying overbid or drops out of the Auction, the bidding will
 8
     then pass to Bidder number 3. This process will continue until only two Qualified Bidders are left,
 9

10   in which case the Qualified Bidder who submits the highest Qualified Bid will be deemed the

11   Winning Bidder at the Auction, and the Qualified Bidder who submits the second highest Qualified
12   Bid will be deemed the Winning Back-Up Bidder at the Auction.
13
            Except as expressly provided in the Bidding Procedures Order or the provisions of these
14
     Bidding Procedures, the Debtors and Kroll shall have the right to conduct the Auction in the
15
     manner they reasonably determine, after consultation with the Committee and the Bank, in the
16

17   exercise of their business judgment, to be in the best interests of the Debtors’ bankruptcy estates.

18   The Debtors and Kroll shall also have the right to deviate from these Bidding Procedures without

19   the need for any further order of the Bankruptcy Court if they reasonably determine, after
20   consultation with the Committee and the Bank, in the exercise of their business judgment, that
21
     doing so would be in the best interests of the Debtors’ bankruptcy estates and is not inconsistent
22
     with any of the provisions of the Bankruptcy Code or any previously entered order of the
23
     Bankruptcy Court including the Bidding Procedures Order.
24

25          Kroll and LNBYG, in consultation with the Debtors, the Committee and the Bank, may (1)

26   determine which Qualified Bid, if any, is the highest, best and otherwise financially superior offer

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28                                                   -14-
     Case 8:22-bk-10948-SC         Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                  Desc
                                   Main Document     Page 17 of 20



     and (2) reject at any time any Bid that is (i) inadequate or insufficient, (ii) not in conformity with
 1

 2   the requirements of the Bankruptcy Code or these Bidding Procedures, or (iii) contrary to the best

 3   interests of the Debtors or their bankruptcy estates; provided that, the highest, best, and otherwise

 4   financially superior offer shall be the Qualified Bid at the Auction reasonably expected to result in
 5
     the highest amount of money being paid to the Debtors for their purchase of the Assets.
 6
                        Selection of the Winning Bid and Winning Back-Up Bid
 7
            The Auction shall continue until there is one Qualified Bid that Kroll and LNBYG, in
 8
     consultation with the Debtors, the Committee and the Bank, determine, subject to Bankruptcy
 9

10   Court approval at the Sale Hearing, to be the highest and best bid (the “Winning Bid”), and another

11   Qualified Bid to be the second highest and best bid (the “Winning Back-Up Bid”), at which point
12   the Auction will be deemed concluded. The Debtors will not consider any Bids submitted after
13
     the conclusion of the Auction.
14
            Subject to the Bankruptcy Court approving the Winning Bid at the Sale Hearing and
15
     entering an order approving of the Debtors’ free and clear sale of the Assets to the Winning Bidder
16

17   in accordance with the APA submitted by the Winning Bidder (the “Sale Order”), the Winning

18   Bidder shall be required to close the Sale by August 12, 2022 (unless the Debtors and the Winning

19   Bidder jointly agree to an extension of this outside Sale closing date which will be in their sole
20   and absolute discretion), or the Winning Bidder will be deemed to have forfeited its Deposit to the
21
     Debtors. Promptly following the closing of the Sale to the Winning Bidder, LNBYG shall return
22
     the Deposit of the Winning Back-Up Bidder to the Winning Back-Up Bidder.
23
            If the Winning Bidder fails to close the Sale by August 12, 2022, unless the Debtors and
24

25   the Winning Bidder mutually agree in their sole and absolute discretion to extend the closing date,

26   Kroll shall so notify the Winning Back-Up Bidder. The Winning Back-Up Bidder will then have

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28                                                   -15-
     Case 8:22-bk-10948-SC        Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                Desc
                                  Main Document     Page 18 of 20



     ten (10) days following the date of having been notified by Kroll to close the Sale. If the Winning
 1

 2   Back-Up Bidder fails to close the Sale within this time period, unless the Debtors and the Winning

 3   Back-Up Bidder mutually agree in their sole and absolute discretion to extend the closing date, the

 4   Winning Back-Up Bidder will be deemed to have forfeited its Deposit to the Debtors.
 5
                     Return of Deposits Following the Completion of the Auction
 6
            Promptly following the completion of the Auction, LNBYG will return the Deposits of all
 7
     Bidders except for the Deposits of the Winning Bidder and the Winning Back-Up Bidder.
 8
                                               Sale Hearing
 9

10          The hearing for the Bankruptcy Court to approve the outcome of the Auction and the

11   Debtors’ sale of the Assets to the Winning Bidder and to the Winning Back-Up Bidder if the
12   Winning Bidder fails to close timely (the “Sale Hearing”) shall be held on August 4, 2022, at 11:00
13
     a.m., or at such other date and time set by the Bankruptcy Court.
14
                                         Conduct of Sale Hearing
15
            Because of the COVID-19 pandemic, the Bankruptcy Court will conduct the Sale Hearing
16

17   using ZoomGov audio and video technology. Participants and members of the public may

18   participate in and/or observe the Sale Hearing using ZoomGov, free of charge. Individuals may

19   connect by ZoomGov audio and video using a personal computer (equipped with camera,
20   microphone and speaker), or a handheld mobile device with an integrated camera, microphone and
21
     speaker (such as an iPhone, iPad, Android phone or Android tablet). The connection can be
22
     initiated by entering the “Meeting URL” into a web browser on any of these devices, provided the
23
     device is connected to the Internet. Individuals connecting in this manner will be prompted for
24

25   the Meeting ID and Password. Individuals may also connect to the Sale Hearing by telephone

26   only. Individuals connecting to the Sale Hearing by telephone will also be prompted for the

27

28                                                  -16-
     Case 8:22-bk-10948-SC        Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                Desc
                                  Main Document     Page 19 of 20



     Meeting ID and Password. Neither a Zoom nor a ZoomGov account is necessary to participate in
 1

 2   or observe the Sale Hearing, and no pre-registration is required. The Zoom information will be

 3   provided to parties in interest prior to the Sale Hearing. More information on appearing before the

 4   Bankruptcy Court by ZoomGov is available in the “Notice of Video and Telephonic Appearance
 5
     Procedures    for   Judge   Clarkson    Cases”    on   the   Bankruptcy     Court’s   website    at
 6
     __________________ under the “Telephonic Instructions” section.
 7
                                             Audio Recording
 8
            The audio portion of the Sale Hearing will be recorded electronically by the Bankruptcy
 9

10   Court and constitute its official record. All persons are strictly prohibited from making any other

11   recording of court proceedings, whether by video, audio, “screenshot,” or otherwise. Violation of
12   this prohibition may result in the imposition of monetary and non-monetary sanctions.
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        Case 8:22-bk-10948-SC                     Doc 111 Filed 06/30/22 Entered 06/30/22 15:12:13                                      Desc
                                                  Main Document     Page 20 of 20



                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
2818 La Cienega Avenue, Los Angeles, CA 90034

A true and correct copy of the foregoing document entitled (specify): NOTICE OF BIDDING PROCEDURES will be
served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the
manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
June 30, 2022, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

       Ron Bender rb@lnbyb.com
       Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
       Michael I. Gottfried mgottfried@elkinskalt.com, cavila@elkinskalt.com
       Jonathan Gottlieb jdg@lnbyg.com
       Michael J Hauser michael.hauser@usdoj.gov
       Marsha A Houston mhouston@reedsmith.com, hvalencia@reedsmith.com
       Krikor J Meshefejian kjm@lnbyg.com
       Ali M Mojdehi amojdehi@btlaw.com, jgertz@btlaw.com;arego@btlaw.com;amattingly@btlaw.com
       Christopher O Rivas crivas@reedsmith.com, chris-rivas-8658@ecf.pacerpro.com
       Lindsey L Smith lls@lnbyg.com, lls@ecf.inforuptcy.com
       United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL: On (date) June 30, 2022, I served the following persons and/or entities at the
last known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a
sealed envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) June 30, 2022, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 June 30, 2022                  Lourdes Cruz                                                    /s/ Lourdes Cruz
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
